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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


  DISPLAY TECHNOLOGIES LLC,                               Civil Action No. 17-cv-1426-RGA

                                                          PATENT CASE
                         Plaintiff,
  v.                                                      JURY TRIAL DEMANDED
  GIBSON INNOVATIONS USA,
  INC.,

                         Defendant.


       GIBSON INNOVATIONS USA, INC.’S UPDATE REGARDING STATUS
                      OF BANKRUPTCY ACTION

         Pursuant to the Court’s May 8, 2018 Order, Defendant Gibson Innovations USA, Inc.

  (“Innovations”) for its update regarding the status of the bankruptcy action which occasioned

  the suspension of this proceeding, states as follows:

         On May 1, 2018, Innovations filed its Voluntary Petition under Chapter 11 of the

  United States Bankruptcy Code in the United States Bankruptcy Court for the District of

  Delaware, Case. No. 18-11025-CSS.

         On May 8, 2018, this Court entered an order (Dkt. 25) which required Innovations to

  provide this Court with an update with regard to the status of the bankruptcy proceedings

  once they had been completed or in six months, whichever would come first.

          As of November 8, 2018, the bankruptcy proceedings are still ongoing. Innovations

  expects discharge from the Bankruptcy in the coming months and will update the court once

  the Bankruptcy proceedings have been completed or in six months, whichever may come first.

         WHEREAS, Innovations respectfully requests the Court continue to stay these

  proceedings.
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  Respectfully submitted, this 8th day of November 2018.



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